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                                UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF TEXAS
    WILLIAM KIRBY individually and on
    behalf of all others similarly situated,             3:24-cv-01934
                                               Case No.: _____________

                         Plaintiff,
                                                    CLASS ACTION COMPLAINT
          v.

    SNOWFLAKE, INC. and AT&T INC.,                  JURY TRIAL DEMANDED

                         Defendants.


                                 CLASS ACTION COMPLAINT

         Plaintiff, William Kirby (“Plaintiff”), individually and on behalf of the Class defined below

of similarly situated persons, alleges the following against Defendants Snowflake, Inc.

(“Snowflake”) and AT&T Inc. (“AT&T”) (collectively, “Defendants”), based upon personal

knowledge with respect to himself and on information and belief derived from, among other things,

investigation by counsel as to all other matters:

                                      SUMMARY OF THE CASE

         1.     This action arises from Defendants’ failure to secure the personal identifiable

information (“PII”)1 of Plaintiff and the members of the proposed Class, where Plaintiffs are

current and former customers of AT&T, which uses Snowflake for cloud storage.

         2.     Snowflake is a cloud storage service used by 9,437 customers, which are often large

global companies which, in addition to AT&T, include Adobe, Kraft Heinz, Mastercard, HP,




1
  The Federal Trade Commission defines “identifying information” as “any name or number that
may be used, alone or in conjunction with any other information, to identify a specific person,”
including, among other things, “[n]ame, Social Security number, date of birth, official State or
government issued driver’s license or identification number, alien registration number, government
passport number, employer or taxpayer identification number.” 17 C.F.R. § 248.201(b)(8).
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Nielsen, Novartis, PepsiCo, Siemens, and NBC Universal. 2 One of Snowflake’s customers is

AT&T.3

       3.      AT&T is a multinational telecommunications corporation and, with its subsidiaries

and affiliates, is one of the United States’s most popular wireless carriers and Internet providers.

       4.      On information and belief, between April 14, 2024, and April 25, 2024, an

unauthorized party began a series of hacks into Snowflake’s systems, ultimately obtaining the PII

and private location data of approximately 110,000,000 current and former customers of AT&T,

including Plaintiff (the “Data Breach”).4

       5.      The PII and other private information intruders accessed and infiltrated from

Defendants’ systems included, at the very least names, phone call and text message records of

nearly all AT&T cellular customers, including location information from cellular tower records. 5

       6.      As a result of the Data Breach, which Defendants failed to prevent, the PII and other

private information of AT&T’s customers, including Plaintiff and the proposed Class Members,

was stolen.6

       7.      Instead, Defendants disregarded the rights of Plaintiff and Class Members by

intentionally, willfully, recklessly, and/or negligently failing to implement reasonable measures to

safeguard Defendant AT&T customers’ PII and by failing to take necessary steps to prevent

unauthorized disclosure of that information. Defendants’ woefully inadequate data security

measures made the Data Breach a foreseeable, and even likely, consequence of their negligence.


2
         https://www.cnbc.com/2024/07/12/snowflake-shares-slip-after-att-says-hackers-accessed-
data.html (last visited July 22, 2024).
3
  Id.
4
    See https://www.sec.gov/ix?doc=/Archives/edgar/data/0000732717/000073271724000046/t-
20240506.htm (last visited July 22, 2024).
5
  https://www.blumenthal.senate.gov/newsroom/press/release/blumenthal-hawley-demand-
answers-from-atandt-snowflake-following-massive-data-breach (last visited July 22, 2024).
6
  See id.

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       8.      Further exacerbating Plaintiff’s injuries, Defendants has offered insufficient

assurances that all personal data or copies of data have been recovered or destroyed, or that

Defendants have adequately enhanced their security practices or dedicated sufficient resources and

staff to avoid a similar breach of its network in the future.

       9.      As a direct and proximate result of the Data Breach, Plaintiff and Class Members

have suffered actual and present injuries, including but not limited to: (a) present, certainly

impending, and continuing threats of identity theft crimes, fraud, scams, and other misuses of their

PII; (b) diminution of value of their PII; (c) loss of benefit of the bargain (price premium damages);

(d) loss of value of privacy and confidentiality of the stolen PII; (e) illegal sales of the

compromised PII; (f) mitigation expenses and time spent responding to and remedying the effects

of the Data Breach; (g) identity theft insurance costs; (h) “out of pocket” costs incurred due to

actual identity theft; (i) credit freezes/unfreezes; (j) expense and time spent on initiating fraud

alerts and contacting third parties; (k) decreased credit scores; (l) lost work time; and (m) anxiety,

annoyance, and nuisance; (n) continued risk to their PII, which remains in Defendants’ possession

and is subject to further breaches so long as Defendants fail to undertake appropriate and adequate

measures to protect Plaintiff’s and Class Members’ PII.

       10.     Plaintiff and Class Members would not have provided their valuable PII had they

known that Defendants would make their PII Internet-accessible, not encrypt personal and

sensitive data elements and not delete the PII it no longer had reason to maintain.

       11.     Through this lawsuit, Plaintiff seek to hold Defendants responsible for the injuries

they inflicted on Plaintiff and Class Members due to their impermissibly inadequate data security

measures, and to seek injunctive relief to ensure the implementation of security measures to protect

the PII that remains in Defendants’ possession.




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       12.     The exposure of one’s PII to cybercriminals is a bell that cannot be un-rung. Before

this Data Breach, Plaintiff’s and the Class’s PII was exactly that—private. Not anymore. Now,

their PII is forever exposed and unsecure.

                                    JURISDICTION AND VENUE

       13.     The Court has subject matter jurisdiction over this action under the Class Action

Fairness Act, 28 U.S.C. § 1332(d)(2). The amount in controversy exceeds $5 million, exclusive of

interest and costs. Upon information and belief, the number of Class Members is about

110,000,000 people, many of whom have different citizenship from Defendants. Thus, minimal

diversity exists under 28 U.S.C. § 1332(d)(2)(A).

       14.     The Court has specific personal jurisdiction over Defendant Snowflake because it

has availed itself of the rights and benefits of the state of Texas by conducting substantial business

in this forum, including but not limited to, business with its client, AT&T.

       15.     The Court has general personal jurisdiction over Defendant AT&T because its

principal place of business is in this District and the acts and omissions giving rise to Plaintiff’s

claims occurred in this District.

       16.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391, because it is the District

within which Defendants have the most significant contacts.

                                             PARTIES

       17.     Plaintiff William Kirby is, and at all relevant times has been, a resident and citizen

of Tennessee, where he intends to remain.

       18.     Defendant Snowflake is a Delaware corporation with its headquarters and principal

place of business located at 106 E. Babcock Street, Suite 3A, Bozeman, Montana 59715.




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          19.    Defendant AT&T is a Delaware corporation with its headquarters and principal

place of business located at 208 S Akard St, Dallas, Texas 75202.

                                   FACTUAL ALLEGATIONS

      A. The Data Breach

          20.     As a condition of receiving AT&T services, Plaintiff and Class Members were

required to provide AT&T their sensitive and confidential PII, including their call records, text

messages, and location data from cellular tower records.

          21.    From about mid-April 2024, a cybercriminal began a series of hacks into

Snowflake’s systems, ultimately obtaining, among other documents including 380 million

customer profiles, the sensitive PII including calls, text messages, and location data of

approximately 110 million current and former customers of AT&T, including Plaintiff’s. 7

          22.    The leaked material contains multiple references to “SNOWFLAKE,” suggesting

the AT&T’s PII was stolen from Snowflake’s cloud servers. 8

          23.    Defendants did not use reasonable security procedures and practices appropriate to

the nature of the sensitive information they were maintaining for Plaintiff and Class Members,

such as encrypting the information or deleting it when it is no longer needed, causing the exposure

of PII.

          24.    As evidenced by the Data Breach, the PII contained in Defendants’ network was

not encrypted. Had the information been properly encrypted, the data thieves would have

exfiltrated only unintelligible data.

      B. The Value of PII

          25.    In April 2020, ZDNet reported in an article titled “Ransomware mentioned in


7
    Supra n.2.
8
    Id.

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1,000+ SEC filings over the past year”, that “[r]ansomware gangs are now ferociously aggressive

in their pursuit of big companies. They breach networks, use specialized tools to maximize

damage, leak corporate information on dark web portals, and even tip journalists to generate

negative news for complaints as revenge against those who refuse to pay.” 9

        26.     In September 2020, the United States Cybersecurity and Infrastructure Security

Agency published online a “Ransomware Guide” advising that “[m]alicious actors have adjusted

their ransomware tactics over time to include pressuring victims for payment by threatening to

release stolen data if they refuse to pay and publicly naming and shaming victims as secondary

forms of extortion.”10

        27.     Stolen PII is often trafficked on the dark web, as is the case here. Law enforcement

has difficulty policing the dark web due to this encryption, which allows users and criminals to

conceal identities and online activity.

        28.     When malicious actors infiltrate companies and copy and exfiltrate the PII that

those companies store, that stolen information often ends up on the dark web because the malicious

actors buy and sell that information for profit. 11

        29.     Another example is when the U.S. Department of Justice announced its seizure of

AlphaBay in 2017, AlphaBay had more than 350,000 listings, many of which concerned stolen or

fraudulent documents that could be used to assume another person’s identity. Other marketplaces,

similar to the now-defunct AlphaBay, “are awash with [PII] belonging to victims from countries



9
   https://www.zdnet.com/article/ransomeware-mentioned-in-1000-sec-filings-over-the-past-year/
(last visited July 22, 2024).
10
   See https://www.cisa.gov/sites/default/files/2023-01-CISA_MSISAC_Ransomware%20Guide_
8508C.pdf (last visited July 22, 2024).
11
    Shining a Light on the Dark Web with Identity Monitoring, IdentityForce, Dec. 28, 2020,
https://www.identityforce.com/blog/shining-light-dark-web-identity-monitoring (last visited July
22, 2024).

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all over the world. One of the key challenges of protecting PII online is its pervasiveness. As data

breaches in the news continue to show, PII about employees, customers and the public is housed

in all kinds of organizations, and the increasing digital transformation of today’s businesses only

broadens the number of potential sources for hackers to target.” 12

       30.     The PII of consumers remains of high value to criminals, as evidenced by the prices

they will pay through the dark web. Numerous sources cite dark web pricing for stolen identity

credentials. For example, PII can be sold at a price ranging from $40 to $200, and bank details

have a price range of $50 to $2009.13 Experian reports that a stolen credit or debit card number

can sell for $5 to $110 on the dark web. 14 Criminals can also purchase access to entire company

data breaches.15

       31.     Once PII is sold, it is often used to gain access to various areas of the victim’s

digital life, including bank accounts, social media, credit card, and tax details. This can lead to

additional PII being harvested from the victim, as well as PII from family, friends and colleagues

of the original victim.

       32.     According to the FBI’s Internet Crime Complaint Center (IC3) 2019 Internet Crime

Report, Internet-enabled crimes reached their highest number of complaints and dollar losses in

2019, resulting in more than $3.5 billion in losses to individuals and business victims.



12
   Stolen PII & Ramifications: Identity Theft and Fraud on the Dark Web, Armor, April 3, 2018,
https://www.armor.com/resources/blog/stolen-pii- ramifications- identity-theft-fraud-dark-web/
(last visited July 22, 2024).
13
   Your personal data is for sale on the dark web. Here’s how much it costs, Digital Trends, Oct.
16, 2019, https://www.digitaltrends.com/computing/personal- data-sold-on-the-dark-web- how-
much-it-costs/ (last visited July 22, 2024).
14
   Here’s How Much Your Personal Information Is Selling for on the Dark Web, Experian, Dec. 6,
2017,               https://www.experian.com/blogs/ask-experian/heres-how-much-your-personal-
information-is- selling-for-on-the-dark-web/ (last visited July 22, 2024).
15
   In the Dark, VPNOverview, 2019, https://vpnoverview.com/privacy/anonymous- browsing/in-
the- dark/ (last visited July 22, 2024).

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       33.     Victims of identity theft also often suffer embarrassment, blackmail, or harassment

in person or online, and/or experience financial losses resulting from fraudulently opened accounts

or misuse of existing accounts.

       34.     Data breaches facilitate identity theft as hackers obtain consumers’ PII and

thereafter use it to siphon money from current accounts, open new accounts in the names of their

victims, or sell consumers’ PII to others who do the same.

       35.     For example, the United States Government Accountability Office noted in a June

2007 report on data breaches (the “GAO Report”) that criminals use PII to open financial accounts,

receive government benefits, and make purchases and secure credit in a victim’s name. 16 The GAO

Report further notes that this type of identity fraud is the most harmful because it may take some

time for a victim to become aware of the fraud, and can adversely impact the victim’s credit rating

in the meantime. The GAO Report also states that identity theft victims will face “substantial costs

and inconveniences repairing damage to their credit records . . . [and their] good name.” 17

       36.     The market for PII has continued unabated to the present, and in 2023 the number

of reported data breaches in the United States increased by 78% over 2022, reaching 3205 data

breaches.18

       37.     The exposure of Plaintiff’s and Class Members’ PII to cybercriminals will continue

to cause substantial risk of future harm (including identity theft) that is continuing and imminent



16
   See Government Accountability Office, Personal Information: Data Breaches are Frequent, but
Evidence of Resulting Identity Theft is Limited; However, the Full Extent is Unknown (June 2007),
https://www.gao.gov/assets/gao- 07-737.pdf (last visited July 22, 2024).
17
   Id.
18
   Beth Maundrill, Data Privacy Week: US Data Breaches Surge, 2023 Sees 78% Increase in
Compromises, INFOSECURITY MAGAZINE (Jan. 23, 2024); https://www.infosecurity-
magazine.com/news/us-data-breaches-surge-2023/ (last visited July 22, 2024); see also Identity
Theft Resource Center, 2023 Data Breach Report, https://www.idtheftcenter.org/publication/
2023-data-breach-report/ (last visited July 22, 2024).

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in light of the many different avenues of fraud and identity theft utilized by third-party

cybercriminals to profit off of this highly sensitive information.

     C. Defendants Failed to Comply with Regulatory Requirements and Standards.

          38.   Federal and state regulators have established security standards and issued

recommendations to temper data breaches and the resulting harm to consumers and employees.

There are a number of state and federal laws, requirements, and industry standards governing the

protection of PII.

          39.   For example, at least 24 states have enacted laws addressing data security practices

that require businesses that own, license, or maintain PII about a resident of that state to implement

and maintain “reasonable security procedures and practices” and to protect PII from unauthorized

access.

          40.   Additionally, cybersecurity firms have promulgated a series of best practices that

at a minimum should be implemented by sector participants including, but not limited to: installing

appropriate malware detection software; monitoring and limiting network ports; protecting web

browsers and email management systems; setting up network systems such as firewalls, switches,

and routers; monitoring and protecting of physical security systems; protecting against any

possible communication system; and training staff regarding critical points. 19

          41.   The FTC has issued several guides for businesses, highlighting the importance of

reasonable data security practices. According to the FTC, the need for data security should be

considered for all business decision-making.20



19
   See Addressing BPO Information Security: A Three-Front Approach, DATAMARK, INC. (Nov.
2016), https://insights.datamark.net/addressing-bpo-information-security (last visited July 22,
2024).
20
    Start With Security, Fed. Trade Comm’n (“FTC”), https://www.ftc.gov/system/files/
documents/plain-language/pdf0205-startwithsecurity.pdf (last visited July 22, 2024).

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        42.     Under the FTC’s 2016 Protecting Personal Information: Guide for Business

publication, the FTC notes that businesses should safeguard the personal customer information

they retain; properly dispose of unnecessary personal information; encrypt information stored on

computer networks; understand their network’s vulnerabilities; and implement policies to rectify

security issues.21

        43.     The guidelines also suggest that businesses use an intrusion detection system to

expose a breach as soon as it happens, monitor all incoming traffic for activity indicating someone

is trying to hack the system, watch for large amounts of data being siphoned from the system, and

have a response plan in the event of a breach.

        44.     The FTC advises companies to not keep information for periods of time longer than

needed to authorize a transaction, restrict access to private information, mandate complex

passwords to be used on networks, utilize industry-standard methods for security, monitor for

suspicious activity on the network, and verify that third-party service providers have implemented

reasonable security measures.22

        45.     The FTC has brought enforcement actions against companies for failing to

adequately and reasonably protect consumer data, treating the failure to do so as an unfair act or

practice barred by Section 5 of the Federal Trade Commission Act (“FTCA”), 15 U.S.C. § 45.

Orders originating from these actions further elucidate the measures businesses must take to satisfy

their data security obligations.




21
   Protecting Personal Information: A Guide for Business, FTC, https://www.ftc.gov/system/files/
documents/plain-language/pdf-0136_proteting-personal-information.pdf (last visited July 22,
2024).
22
   Supra n.39.

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        46.    Defendants’ failure to employ reasonable and appropriate measures to protect

against unauthorized access to confidential consumer data constitutes an unfair act or practice

prohibited by Section 5 of the FTCA, 15 U.S.C. § 45.

        47.    Defendants’ failure to verify that it had implemented reasonable security measures

constitutes an unfair act or practice prohibited by Section 5 of the FTCA, 15 U.S.C. § 45.

     D. Defendants Failed to Comply with Industry Practices.

        48.    Various cybersecurity industry best practices have been published and should be

consulted as a go-to resource when developing an organization’s cybersecurity standards. The

Center for Internet Security (“CIS”) promulgated its Critical Security Controls, which identify the

most commonplace and essential cyber-attacks that affect businesses every day and proposes

solutions to defend against those cyber-attacks. 23 All organizations collecting and handling PII,

such as Defendants, are strongly encouraged to follow these controls.

        49.    Further, the CIS Benchmarks are the overwhelming option of choice for auditors

worldwide when advising organizations on the adoption of a secure build standard for any

governance and security initiative, including PCI DSS, NIST 800-53, SOX, FISMA, ISO/IEC

27002, Graham Leach Bliley and ITIL. 24

        50.    Several best practices have been identified that a minimum should be implemented

by data management companies like Defendants, including but not limited to securely configuring

business software, managing access controls and vulnerabilities to networks, systems, and




23
    Center for Internet Security, Critical Security Controls, at 1 (May 2021),
https://learn.cisecurity.org/CIS-Controls-v8-guide-pdf (last visited July 22, 2024).
24
   See CIS Benchmarks FAQ, Center for Internet Security, https://www.cisecurity.org/cis-
benchmarks/cis-benchmarks-faq/ (last visited July 22, 2024).

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software, maintaining network infrastructure, defending networks, adopting data encryption while

data is both in transit and at rest, and securing application software. 25

        51.       Defendants failed to follow these and other industry standards to adequately protect

the PII of Plaintiff and Class Members.

     E. The Data Breach Caused Injury to Class Members and Will Result in Additional
        Harm Such as Fraud.

        52.       Without detailed disclosure to the victims of the Data Breach, individuals whose

PII was compromised by the Data Breach, including Plaintiff and Class Members, were

unknowingly and unwittingly exposed to continued misuse and ongoing risk of misuse of their PII

for months without being able to take available precautions to prevent imminent harm.

        53.       The ramifications of Defendants’ failure to secure Plaintiff’s and Class Members’

data are severe.

        54.       Victims of data breaches are much more likely to become victims of identity theft

and other types of fraudulent schemes. This conclusion is based on an analysis of four years of

data that correlated each year’s data breach victims with those who also reported being victims of

identity fraud.

        55.       The FTC defines identity theft as “a fraud committed or attempted using the

identifying information of another person without authority.” 26 The FTC describes “identifying

information” as “any name or number that may be used, alone or in conjunction with any other

information, to identify a specific person.” 27




25
     See Center for Internet Security, Critical Security Controls (May                         2021),
https://learn.cisecurity.org/CIS-Controls-v8-guide-pdf (last visited July 22, 2024).
26
   17 C.F.R. § 248.201 (2013).
27
   Id.

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          56.   Identity thieves can use PII, such as that of Plaintiff and Class Members, which

Defendants failed to keep secure, to perpetrate a variety of crimes that harm victims. For instance,

identity thieves may commit various types of government fraud such as: immigration fraud;

obtaining a driver’s license or identification card in the victim’s name but with another’s picture;

using the victim’s information to obtain government benefits; or filing a fraudulent tax return using

the victim’s information to obtain a fraudulent refund.

          57.   As demonstrated herein, these and other instances of fraudulent misuse of the

compromised PII has already occurred and are likely to continue.

          58.   Reimbursing a consumer for a financial loss due to fraud does not make that

individual whole again. On the contrary, identity theft victims must spend numerous hours and

their own money repairing the impact to their credit. After conducting a study, the Department of

Justice’s Bureau of Justice Statistics (“BJS”) found that identity theft victims “reported spending

an average of about 7 hours clearing up the issues” and resolving the consequences of fraud in

2014.28

          59.   The 2017 Identity Theft Resource Center survey29 evidences the emotional

suffering experienced by victims of identity theft:

               75% of respondents reported feeling severely distressed;

               67% reported anxiety;

               66% reported feelings of fear related to personal financial safety;

               37% reported fearing for the financial safety of family members;

               24% reported fear for their physical safety;


28
   Victims of Identity Theft, Bureau of Justice Statistics (Sept. 2015) http://www.bjs.gov/content/
pub/pdf/vit14.pdf (last visited July 22, 2024).
29
   Id.

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                 15.2% reported a relationship ended or was severely and negatively impacted by

                  identity theft; and

                 7% reported feeling suicidal.

           60.    Identity theft can also exact a physical toll on its victims. The same survey reported

that respondents experienced physical symptoms stemming from their experience with identity

theft:

                 48.3% of respondents reported sleep disturbances;

                 37.1% reported an inability to concentrate / lack of focus;

                 28.7% reported they were unable to go to work because of physical symptoms;

                 23.1% reported new physical illnesses (aches and pains, heart palpitations,

                  sweating, stomach issues); and

                 12.6% reported a start or relapse into unhealthy or addictive behaviors. 30

           61.    There may be a time lag between when harm occurs versus when it is discovered,

and also between when private information is stolen and when it is used. According to the U.S.

Government Accountability Office (“GAO”), which conducted a study regarding data breaches:

           [L]aw enforcement officials told us that in some cases, stolen data may be held for
           up to a year or more before being used to commit identity theft. Further, once stolen
           data have been sold or posted on the Web, fraudulent use of that information may
           continue for years. As a result, studies that attempt to measure the harm resulting
           from data breaches cannot necessarily rule out all future harm. 31

Thus, Plaintiff and Class Members now face years of constant surveillance of their financial and

personal records, monitoring, and loss of rights.




30
     Id.
31
       GAO,    Report     to   Congressional       Requesters,    at            29     (June       2007),
http://www.gao.gov/new.items/d07737.pdf (last visited July 22, 2024).

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   F. Plaintiff and Class Members Suffered Damages.

       62.      As a direct and proximate result of Defendants’ wrongful actions and inaction and

the resulting Data Breach, Plaintiff and Class Members have already been harmed by the

fraudulent misuse of their PII, and have been placed at an imminent, immediate, and continuing

increased risk of additional harm from identity theft and identity fraud, requiring them to take the

time which they otherwise would have dedicated to other life demands such as work and family in

an effort to mitigate both the actual and potential impact of the Data Breach on their lives. Such

mitigatory actions include, inter alia, placing “freezes” and “alerts” with credit reporting agencies,

contacting their financial institutions, closing or modifying financial accounts, closely reviewing

and monitoring their credit reports and accounts for unauthorized activity, sorting through dozens

of phishing and spam email, text, and phone communications, and filing police reports. This time

has been lost forever and cannot be recaptured.

       63.      Defendants’ wrongful actions and inaction directly and proximately caused the

theft and dissemination into the public domain of Plaintiff’s and Class Members’ PII, causing them

to suffer, and continue to suffer, economic damages and other actual harm for which they are

entitled to compensation, including:

             a. theft and misuse of their personal and financial information;

             b. the imminent and certainly impending injury flowing from potential fraud and

                identity theft posed by their PII being placed in the hands of criminals and misused

                via the sale of Plaintiff’s and Class Members’ information on the Internet’s black

                market;

             c. the untimely and inadequate notification of the Data Breach;

             d. the improper disclosure of their PII;




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             e. loss of privacy;

             f. ascertainable losses in the form of out-of-pocket expenses and the value of their

                time reasonably incurred to remedy or mitigate the effects of the Data Breach;

             g. ascertainable losses in the form of deprivation of the value of their PII, for which

                there is a well-established national and international market;

             h. the loss of productivity and value of their time spent to address, attempt to

                ameliorate, mitigate, and deal with the actual and future consequences of the Data

                Breach, including finding fraudulent charges, cancelling and reissuing cards,

                purchasing credit monitoring and identity theft protection services, imposition of

                withdrawal and purchase limits on compromised accounts, and the inconvenience,

                nuisance and annoyance of dealing with all such issues resulting from the Data

                Breach; and

             i. nominal damages.

       64.      While Plaintiff’s and Class Members’ PII has been stolen, Defendants continue to

hold Plaintiff’s and Class Members’ PII. Particularly because Defendants have demonstrated an

inability to prevent a breach or stop it from continuing even after being detected, Plaintiff and

Class Members have an undeniable interest in ensuring that their PII is secure, remains secure, is

properly and promptly destroyed, and is not subject to further theft.

   G. Plaintiff’s Experience.

       65.      Plaintiff William Kirby was a customer of AT&T and gave AT&T PII and other

private information, including his text messages, call records, and location data from cellular tower

records, as a necessary condition of receiving services.

       66.      Plaintiff provided PII and other private information, directly or indirectly, to




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Defendants on the condition that it be maintained as confidential and with the understanding that

Defendants would employ reasonable safeguards to protect it.

        67.    Since the Data Breach, Plaintiff has noticed a marked spike in spam texts asking

him to respond. He has experienced anxiety and increased concerns for the loss of his privacy, as

well as anxiety over the impact of cybercriminals accessing and using his PII and other private

information.

        68.    Plaintiff would not have entrusted his PII and other private information to

Defendants had he known they would not take reasonable steps to safeguard his information.

        69.    Plaintiff has a continuing interest in ensuring that his PII and other private

information, which, upon information and belief, remains backed up in Defendants’ possession, is

protected and safeguarded from future breaches.

        70.    Plaintiff is very careful about sharing sensitive PII and other private information.

He stores documents containing PII in safe and secure locations and has never knowingly

transmitted unencrypted sensitive PII over the Internet or any other unsecured source. Plaintiff

would not have entrusted his PII to Defendants had he known of Defendants’ lax data security

policies.

        71.    As a direct and proximate result of the Data Breach, Plaintiff has made reasonable

efforts to mitigate the impact of the Data Breach, including by regularly and closely monitoring

his financial accounts.

        72.    As a result of the Data Breach, Plaintiff anticipates spending considerable time and

money on an ongoing basis to try to mitigate and address the harms caused by the Data Breach.

He has faced and faces a present and continuing risk of fraud and identity theft for his lifetime.




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                                    CLASS ALLEGATIONS

         73.    Plaintiff brings this class action individually on behalf of himself and all members

of the following Class of similarly situated persons pursuant to Federal Rule of Civil Procedure

23. Plaintiff seeks certification under Fed. R. Civ. P. 23(a), (b)(2), and (b)(3) of the following

Class:

         All persons residing in the United States whose PII was compromised in the Data
         Breach, including all who were sent a notice of the Data Breach.

         74.    Excluded from the Class are Defendants and its affiliates, parents, subsidiaries,

officers, agents, and directors, any entities in which Defendants has a controlling interest, as well

as the judge(s) presiding over this matter and the clerks, judicial staff, and immediate family

members of said judge(s).

         75.    Plaintiff reserves the right to modify or amend the foregoing Class definitions

before the Court determines whether certification is appropriate.

         76.    Numerosity: The members in the Class are so numerous that joinder of all Class

Members in a single proceeding would be impracticable. As noted above, it has been reported that

approximately 110 million individuals’ information was exposed in the Data Breach.

         77.    Commonality and Predominance: Common questions of law and fact exist as to all

Class Members and predominate over any potential questions affecting only individual Class

Members. These common questions of law or fact include, inter alia:

                a.     Whether Defendants engaged in the conduct alleged herein;

                b.     Whether Defendants had a duty to implement and maintain reasonable

                       security procedures and practices to protect and secure Plaintiff’s and Class

                       Members’ PII from unauthorized access and disclosure;




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         c.    Whether Defendants’ computer systems and data security practices used to

               protect Plaintiff’s and Class Members’ PII violated the FTC Act and/or state

               laws, and/or Defendants’ other duties discussed herein;

         d.    Whether Defendants failed to adequately respond to the Data Breach,

               including failing to investigate it diligently and notify affected individuals

               in the most expedient time possible and without unreasonable delay, and

               whether this caused damages to Plaintiff and Class Members;

         e.    Whether Defendants unlawfully shared, lost, or disclosed Plaintiff’s and

               Class Members’ PII;

         f.    Whether Defendants’ data security systems prior to and during the Data

               Breach complied with applicable data security laws and regulations;

         g.    Whether Defendants’ data security systems prior to and during the Data

               Breach were consistent with industry standards;

         h.    Whether Plaintiff and Class Members suffered injury as a proximate result

               of Defendants’ negligent actions or failures to act;

         i.    Whether Defendants failed to exercise reasonable care to secure and

               safeguard Plaintiff’s and Class Members’ PII;

         j.    Whether Defendants breached duties to protect Plaintiff’s and Class

               Members’ PII;

         k.    Whether Defendants’ actions and inactions alleged herein were negligent;

         l.    Whether Defendants were unjustly enriched by their conduct as alleged

               herein;




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               m.      Whether an implied contract existed between Class Members and

                       Defendants with respect to protecting PII and privacy, and whether that

                       contract was breached;

               n.      Whether Plaintiff and Class Members are entitled to actual and/or statutory

                       damages or other relief, and the measure of such damages and relief;

               o.      Whether Plaintiff and Class Members are entitled to additional credit or

                       identity monitoring and monetary relief; and

               p.      Whether Plaintiff and Class Members are entitled to equitable relief,

                       including    injunctive   relief,   restitution,   disgorgement,    and/or    the

                       establishment of a constructive trust.

       78.     Defendants engaged in a common course of conduct giving rise to the legal rights

sought to be enforced by Plaintiff on behalf of himself and all other Class Members. Individual

questions, if any, pale in comparison, in both quantity and quality, to the numerous common

questions that dominate this action.

       79.     Typicality: Plaintiff’s claims are typical of the claims of the Class. Plaintiff, like all

proposed members of the Class, had his PII compromised in the Data Breach. Plaintiff and Class

Members were injured by the same wrongful acts, practices, and omissions committed by

Defendants, as described herein. Plaintiff’s claims therefore arise from the same practices or course

of conduct that give rise to the claims of all Class Members.

       80.     Adequacy: Plaintiff will fairly and adequately protect the interests of the Class

Members. Plaintiff is an adequate representative of the Class and has no interests adverse to, or

conflict with, the Class he seeks to represent. Plaintiff has retained counsel with substantial




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experience and success in the prosecution of complex consumer protection class actions of this

nature.

          81.   Superiority: A class action is superior to any other available means for the fair and

efficient adjudication of this controversy, and no unusual difficulties are likely to be encountered

in the management of this class action. The damages and other financial detriment suffered by

Plaintiff and all other Class Members are relatively small compared to the burden and expense that

would be required to individually litigate their claims against Defendants, so it would be

impracticable for Class Members to individually seek redress from Defendants’ wrongful conduct.

Even if Class Members could afford individual litigation, the court system could not.

Individualized litigation creates a potential for inconsistent or contradictory judgments and

increases the delay and expense to all parties and the court system. By contrast, the class action

device presents far fewer management difficulties and provides the benefits of single adjudication,

economy of scale, and comprehensive supervision by a single court.

          82.   Injunctive and Declaratory Relief: Defendants have acted and/or refused to act on

grounds generally applicable to the Class such that final injunctive relief and/or corresponding

declaratory relief is appropriate as to the Class as a whole.

          83.   Likewise, particular issues are appropriate for certification under Rule 24(c)(4)

because such claims present only particular, common issues, the resolution of which would

advance the disposition of this mater and the parties’ interests therein. Such issues include, but are

not limited to: (a) whether Defendants owed a legal duty to Plaintiff and Class Members to exercise

due care in collecting, storing, and safeguarding their PII; (b) whether Defendants failed to

adequately monitor and audit their data security systems; and (c) whether Defendants failed to take

reasonable steps to safeguard the PII of Plaintiff and Class Members.




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          84.   All members of the proposed Class are readily ascertainable. Defendants have

access to the names in combination with addresses and/or e-mail addresses of Class Members

affected by the Data Breach. Indeed, impacted Class Members already have been preliminarily

identified and sent a breach notice letter.

                                      CAUSES OF ACTION

                                            COUNT I
                                        NEGLIGENCE
                   (On Behalf of Plaintiff and the Class Against Defendants)

          85.   Plaintiff restates and realleges paragraphs 1 through 84 above as if fully set forth

herein.

          86.   Defendants’ clients require their customers to submit non-public PII and other

private information (like location data) as a condition of receiving services.

          87.   Defendants gathered and stored the PII and other private information of Plaintiff

and Class Members as part of its business, which affects commerce.

          88.   Plaintiff and Class Members entrusted Defendants with their PII and other private

information with the understanding that the information would be safeguarded.

          89.   Defendants had full knowledge of the sensitivity of the PII and the types of harm

that Plaintiff and Class Members could and would suffer if their PII were wrongfully disclosed.

          90.   By assuming the responsibility to collect and store this data, Defendants had duties

of care to use reasonable means to secure and to prevent disclosure of the information, and to

safeguard the information from theft.

          91.   Defendants owed a duty of care to Plaintiff and Class Members to provide data

security consistent with industry standards and other requirements discussed herein, and to ensure




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that their systems and networks, and the personnel responsible for them, adequately protected the

PII.

        92.      Defendants’ duty to use reasonable security measures arose as a result of the special

relationship that existed between Defendants, on the one hand, and Plaintiff and Class Members,

on the other hand. That special relationship arose because Defendants were entrusted with their

confidential PII as a condition of receiving services.

        93.      Defendants also had a duty to exercise appropriate clearinghouse practices to

remove former customers’ PII they were no longer required to retain pursuant to regulations.

        94.      Moreover, Defendants had a duty to promptly and adequately notify Plaintiff and

the Class of the Data Breach, but failed to do so.

        95.      Defendants had and continue to have duties to adequately disclose that Plaintiff’s

and Class Members’ PII within Defendants’ possession might have been compromised, how it was

compromised, and precisely the types of data that were compromised and when. Such notice was

necessary to allow Plaintiff and the Class to take steps to prevent, mitigate, and repair any identity

theft and the fraudulent use of their PII by third parties.

        96.      Defendants breached their duties and thus was negligent, by failing to use

reasonable measures to protect Plaintiff’s and Class Members’ PII. The specific negligent acts and

omissions committed by Defendants include, but are not limited to, the following:

              a. Failing to adopt, implement, and maintain adequate security measures to safeguard

                 Class Members’ PII;

              b. Failing to adequately monitor the security of their networks and systems;

              c. Allowing unauthorized access to Class Members’ PII;




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             d. Failing to detect in a timely manner that Class Members’ PII had been

                compromised;

             e. Failing to remove former customers’ PII they were no longer required to retain

                pursuant to regulations; and

             f. Failing to timely and adequately notify Class Members about the Data Breach’s

                occurrence and scope, so that they could take appropriate steps to mitigate the

                potential for identity theft and other damages.

       97.      Defendants breached their duties to Plaintiff and Class Members by failing to

provide fair, reasonable, or adequate computer systems and data security practices to safeguard

Plaintiff’s and Class Members’ PII.

       98.      Defendants knew or should have known that their failure to implement reasonable

data security measures to protect and safeguard Plaintiff’s and Class Members’ PII would cause

damage to Plaintiff and the Class.

       99.      The FTC has pursued enforcement actions against businesses, which, as a result of

their failure to employ reasonable data security measures and avoid unfair and deceptive practices,

caused the same harm as that suffered by Plaintiff and the Class.

       100.     A breach of security, unauthorized access, and resulting injury to Plaintiff and the

Class was reasonably foreseeable, particularly in light of Defendants’ inadequate security

practices.

       101.     It was foreseeable that Defendants’ failure to use reasonable measures to protect

Class Members’ PII would result in injury to Class Members. Further, the breach of security was

reasonably foreseeable given the known high frequency of corporate cyberattacks and data

breaches.




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          102.   Defendants had full knowledge of the sensitivity of the PII and the types of harm

that Plaintiff and the Class could and would suffer if the PII were wrongfully disclosed.

          103.   Plaintiff and the Class were the foreseeable and probable victims of any inadequate

security practices and procedures. Defendants knew or should have known of the inherent risks in

collecting and storing PII, the critical importance of providing adequate security of that PII, and

the necessity for encrypting PII stored on its systems.

          104.   Plaintiff and the Class had no ability to protect their PII that was in, and possibly

remains in, Defendants’ possession.

          105.   Defendants was in a position to protect against the harm suffered by Plaintiff and

the Class as a result of the Data Breach.

          106.   Defendants’ duties extended to protecting Plaintiff and the Class from the risk of

foreseeable criminal conduct of third parties, which have been recognized in situations where the

actor’s own conduct or misconduct exposes another to the risk or defeats protections put in place

to guard against the risk, or where the parties are in a special relationship. 32 Numerous courts and

legislatures have also recognized the existence of a specific duty to reasonably safeguard personal

information.

          107.   Defendants have admitted that the PII of Plaintiff and the Class was wrongfully lost

and disclosed to unauthorized third persons as a result of the Data Breach.

          108.   But for Defendants’ wrongful and negligent breaches of duties owed to Plaintiff

and the Class, Plaintiff’s and Class Members’ PII would not have been compromised.

          109.   There is a close causal connection between Defendants’ failure to implement

security measures to protect Plaintiff’s and Class Members’ PII, and the harm, or risk of imminent



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     See Restatement (Second) of Torts § 302B.

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harm, suffered by Plaintiff and the Class. PII was lost and accessed as the proximate result of

Defendants’ failure to exercise reasonable care by adopting, implementing, and maintaining

appropriate security measures.

       110.    As a direct and proximate result of Defendants’ negligence, Plaintiff and the Class

have suffered and will suffer injury, including but not limited to: (i) the actual misuse of their

compromised PII; (ii) invasion of privacy; (iii) lost or diminished value of PII; (iv) lost time and

opportunity costs associated with attempting to mitigate the actual consequences of the Data

Breach; (v) loss of benefit of the bargain; (vi) an increase in spam calls, texts, and/or emails (vii)

the continued and certainly increased risk to their PII, which: (a) remains unencrypted and

available for unauthorized third parties to access and abuse; and (b) remains backed up in

Defendants’ possession and is subject to further unauthorized disclosures so long as Defendants

fail to undertake appropriate and adequate measures to protect the PII; (viii) future costs in terms

of time, effort and money that will be expended to prevent, detect, contest, and repair the inevitable

and continuing consequences of compromised PII for the rest of their lives; (ix) the present value

of ongoing credit monitoring and identity defense services necessitated by Defendants’ data

breach; (x) the value of the unauthorized access to their PII permitted by Defendant; and (xi) any

nominal damages that may be awarded.

       111.    As a direct and proximate result of Defendants’ negligence, Plaintiff and the Class

have suffered and will continue to suffer other forms of injury and/or harm, including, but not

limited to, anxiety, emotional distress, loss of privacy, and other economic and non-economic

losses including nominal damages.

       112.    Plaintiff and Class Members are entitled to compensatory and consequential

damages suffered as a result of the Data Breach.




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          113.   Defendants’ negligent conduct is ongoing, in that it still possesses Plaintiff’s and

Class Members’ PII in an unsafe and insecure manner.

          114.   Plaintiff and Class Members are entitled to injunctive relief requiring Defendants

to: (i) strengthen its data security systems and monitoring procedures; (ii) submit to future annual

audits of those systems and monitoring procedures; and (iii) continue to provide adequate credit

monitoring to all Class Members.

                                            COUNT II
                                    NEGLIGENCE PER SE
                    (On Behalf of Plaintiff and the Class Against Defendants)

          115.   Plaintiff restates and realleges paragraphs 1 through 84 above as if fully set forth

herein.

          116.   Defendants had duties arising under the FTC Act to protect Plaintiff’s and Class

Members’ PII.

          117.   Defendants breached their duties, pursuant to the FTC Act and other applicable

standards, and thus was negligent, by failing to use reasonable measures to protect Plaintiff’s and

Class Members’ PII. The specific negligent acts and omissions committed by Defendants include,

but are not limited to, the following: (i) failing to adopt, implement, and maintain adequate security

measures to safeguard Class Members’ PII; (ii) failing to adequately monitor the security of their

networks and systems; (iii) allowing unauthorized access to Class Members’ PII; (iv) failing to

detect in a timely manner that Class Members’ PII had been compromised; (v) failing to remove

former customers’ PII they were no longer required to retain pursuant to regulations; and (vi)

failing to timely and adequately notify Class Members about the Data Breach’s occurrence and

scope, so that they could take appropriate steps to mitigate the potential for identity theft and other

damages.




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       118.    Defendants’ violations of Section 5 of the FTC Act (and similar state statutes)

constitute negligence per se.

       119.    Plaintiff and Class Members are consumers within the class of persons that Section

5 of the FTC Act were intended to protect.

       120.    The harm that has occurred is the type of harm the FTC Act were intended to guard

against.

       121.    The FTC has pursued enforcement actions against businesses that, as a result of

their failure to employ reasonable data security measures and avoid unfair and deceptive practices,

caused the same harm as that suffered by Plaintiff and the Class.

       122.    Defendants breached their duties to Plaintiff and Class Members by failing to

provide fair, reasonable, or adequate computer systems and data security practices to safeguard

Plaintiff’s and Class Members’ PII.

       123.    In addition, under state data security and consumer protection statutes such as those

outlined herein, Defendants had a duty to implement and maintain reasonable security procedures

and practices to safeguard Plaintiff’s and Class Members’ PII.

       124.    Plaintiff and Class Members were foreseeable victims of Defendants’ violations of

the FTC Act, and state data security and consumer protection statutes. Defendants knew or should

have known that their failure to implement reasonable data security measures to protect and

safeguard Plaintiff’s and Class Members’ PII would cause damage to Plaintiff and the Class.

       125.    As a direct and proximate result of Defendants’ negligence per se, Plaintiff and the

Class have suffered and will suffer injury, including but not limited to: (i) the actual misuse of

their compromised PII; (ii) invasion of privacy; (iii) lost or diminished value of PII; (iv) lost time

and opportunity costs associated with attempting to mitigate the actual consequences of the Data




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Breach; (v) loss of benefit of the bargain; (vi) an increase in spam calls, texts, and/or emails; and

(vii) the continued and certainly increased risk to their PII, which: (a) remains unencrypted and

available for unauthorized third parties to access and abuse; and (b) remains backed up in

Defendants’ possession and is subject to further unauthorized disclosures so long as Defendants

fail to undertake appropriate and adequate measures to protect the PII.

          126.   As a direct and proximate result of Defendants’ negligence per se Plaintiff and the

Class have suffered and will continue to suffer other forms of injury and/or harm, including, but

not limited to, anxiety, emotional distress, loss of privacy, and other economic and non-economic

losses.

          127.   Finally, as a direct and proximate result of Defendants’ negligence per se, Plaintiff

and the Class have suffered and will suffer the continued risks of exposure of their PII, which

remain in Defendants’ possession and is subject to further unauthorized disclosures so long as

Defendants fail to undertake appropriate and adequate measures to protect the PII in their

continued possession.

                                           COUNT III
                            BREACH OF IMPLIED CONTRACT
                      (On Behalf of Plaintiff and the Class Against AT&T)

          128.   Plaintiff restates and realleges paragraphs 1 through 84 above as if fully set forth

herein.

          129.   This count is brought against AT&T (for purposes of this count “Defendant”).

          130.   When Plaintiff and Class Members provided their personal information to

Defendant, Plaintiff and Class Members entered into implied contracts with Defendant pursuant

to which Defendant agreed to safeguard and protect such information and to timely and accurately

notify Plaintiff and Class Members that their data had been breached and compromised.




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         131.   Defendant required Plaintiff and Class Members to provide and entrust their PII

and other private information as a necessary condition of receiving cellular phone and data

services.

         132.   Plaintiff and Class Members would not have provided and entrusted their PII and

other private information to Defendant in the absence of the implied contract between them and

Defendant.

         133.   Plaintiff and Class Members fully performed their obligations under the implied

contracts with Defendant.

         134.   Defendant breached the implied contracts it made with Plaintiff and Class Members

by failing to safeguard and protect the personal information of Plaintiff and Class Members and

by failing to provide timely and accurate notice to them that their personal information was

compromised in and as a result of the Data Breach.

         135.   As a direct and proximate result of Defendant’ breach of the implied contracts,

Plaintiff and Class Members are entitled to damages, including compensatory, punitive, and/or

nominal damages, and/or disgorgement or restitution, in an amount to be proven at trial.

                                          COUNT IV
                                  UNJUST ENRICHMENT
                     (On Behalf of Plaintiff and the Class Against AT&T)

         136.   Plaintiff restates and realleges paragraphs 1 through 84 as if fully set forth herein.

         137.   This count is brought against AT&T (for purposes of this count “Defendant”).

         138.   This count is brought in the alternative to Plaintiff’s breach of implied contract

count.

         139.   Plaintiff and Class Members conferred a benefit on Defendant by way of

customers’ paying Defendant to maintain Plaintiff and Class Members’ personal information.




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          140.   The monies paid to Defendant were supposed to be used by Defendant, in part, to

pay for the administrative and other costs of providing reasonable data security and protection to

Plaintiff and Class Members.

          141.   Defendant failed to provide reasonable security, safeguards, and protections to the

personal information of Plaintiff and Class Members, and as a result Defendant was overpaid.

          142.   Under principles of equity and good conscience, Defendant should not be permitted

to retain the money because Defendant failed to provide adequate safeguards and security

measures to protect Plaintiff and Class Members’ PII and other private information that they paid

for but did not receive.

          143.   Defendant wrongfully accepted and retained these benefits to the detriment of

Plaintiff and Class Members.

          144.   Defendant’ enrichment at the expense of Plaintiff and Class Members is and was

unjust.

          145.   As a result of Defendant’ wrongful conduct, as alleged above, Plaintiff and the

Class are entitled to restitution and disgorgement of profits, benefits, and other compensation

obtained by Defendant, plus attorneys’ fees, costs, and interest thereon.

                                           COUNT V
                 BREACH OF THIRD-PARTY BENEFICIARY CONTRACT
                   (On Behalf of Plaintiff and the Class Against Snowflake)

          146.   Plaintiff restates and realleges paragraphs 1 through 84 above as if fully set forth

herein.

          147.   This count is brought against Snowflake (for purposes of this count “Defendant”).

          148.   Upon information and belief, Defendant Snowflake entered into virtually identical

contracts with its clients to provide administrative services, which included data security practices,




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procedures, and protocols sufficient to safeguard the PII and other private information that was to

be entrusted to it.

          149.   Such contracts were made expressly for the benefit of Plaintiff and the Class, as it

was their PII and other private information that Defendant agreed to receive and protect through

its services. Thus, the benefit of collection and protection of the PII and other private information

belonging to Plaintiff and the Class was the direct and primary objective of the contracting parties,

and Plaintiff and Class Members were direct and express beneficiaries of such contracts.

          150.   Defendant knew that if it were to breach these contracts with its clients, Plaintiff

and the Class would be harmed.

          151.   Defendant breached its contracts with its clients and, as a result, Plaintiff and Class

Members were affected by this Data Breach when Defendant failed to use reasonable data security

and/or business associate monitoring measures that could have prevented the Data Breach.

          152.   As foreseen, Plaintiff and the Class were harmed by Defendant’s failure to use

reasonable data security measures to securely store and protect the files in its care, including but

not limited to, the continuous and substantial risk of harm through the loss of their PII and other

private information.

          153.   Accordingly, Plaintiff and the Class are entitled to damages in an amount to be

determined at trial, along with costs and attorneys’ fees incurred in this action.

                                             COUNT VI
                                     UNJUST ENRICHMENT
                      (On Behalf of Plaintiff and the Class Against Snowflake)

          154.   Plaintiff restates and realleges paragraphs 1 through 84 above as if fully set forth

herein.

          155.   This count is brought against Snowflake (for purposes of this count “Defendant”).




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       156.    Plaintiff brings this claim in the alternative to her breach of third-party beneficiary

contract claim above.

       157.    Plaintiff and Class Members conferred a monetary benefit on Defendant.

Specifically, they provided Defendant with their PII and other private information. In exchange,

Defendant should have provided adequate data security for Plaintiff and Class Members’.

       158.    Defendant knew that Plaintiff and Class Members conferred a benefit on it in the

form their PII and other private information as a necessary part of their receiving services.

Defendant appreciated and accepted that benefit. Defendant profited from these transactions and

used the PII and other private information of Plaintiff and Class Members for business purposes.

       159.    Upon information and belief, Defendant funds its data security measures entirely

from its general revenue, including payments on behalf of or for the benefit of Plaintiff and Class

Members.

       160.    As such, a portion of the payments made for the benefit of or on behalf of Plaintiff

and Class Members is to be used to provide a reasonable level of data security, and the amount of

the portion of each payment made that is allocated to data security is known to Defendant.

       161.    Defendant, however, failed to secure Plaintiff and Class Members’ PII and other

private information and, therefore, did not provide adequate data security in return for the benefit

Plaintiff and Class Members provided.

       162.    Defendant would not be able to carry out an essential function of its regular

business without the PII and other private information of Plaintiff and Class Members and derived

revenue by using it for business purposes. Plaintiff and Class Members expected that Defendant

or anyone in Defendant’s position would use a portion of that revenue to fund adequate data

security practices.




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       163.    Defendant acquired the PII and other private information through inequitable

means in that it failed to disclose the inadequate security practices previously alleged.

       164.    If Plaintiff and Class Members knew that Defendant had not reasonably secured

their PII and other private information, they would not have allowed their PII and other private

information to be provided to Defendant.

       165.    Defendant enriched itself by saving the costs it reasonably should have expended

on data security measures to secure Plaintiff and Class Members’ PII and other private information.

Instead of providing a reasonable level of security that would have prevented the hacking incident,

Defendant instead calculated to increase its own profit at the expense of Plaintiff and Class

Members by utilizing cheaper, ineffective security measures and diverting those funds to its own

profit. Plaintiff and Class Members, on the other hand, suffered as a direct and proximate result of

Defendant’s decision to prioritize its own profits over the requisite security and the safety of their

PII and other private information.

       166.    Under the principles of equity and good conscience, Defendant should not be

permitted to retain the money wrongfully obtained Plaintiff and Class Members, because

Defendant failed to implement appropriate data management and security measures that are

mandated by industry standards.

       167.    Plaintiff and Class Members have no adequate remedy at law.

       168.    As a direct and proximate result of Defendant’s conduct, Plaintiff and Class

Members have suffered and will suffer injury, including but not limited to: (i) invasion of privacy;

(ii) theft of their PII and other private information; (iii) lost or diminished value of PII and other

private information; (iv) lost time and opportunity costs associated with attempting to mitigate the

actual consequences of the Data Breach; (v) loss of benefit of the bargain; (vi) lost opportunity




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costs associated with attempting to mitigate the actual consequences of the Data Breach; (vii)

experiencing an increase in spam calls, texts, and/or emails; (viii) statutory damages; (ix) nominal

damages; and (xi) the continued and certainly increased risk to their PII and other private

information, which: (a) remains unencrypted and available for unauthorized third parties to access

and abuse; and (b) remains backed up in Defendant’s possession and is subject to further

unauthorized disclosures so long as Defendant fails to undertake appropriate and adequate

measures to protect the PII and other private information.

       169.    As a direct and proximate result of Defendant’s conduct, Plaintiff and Class

Members have suffered and will continue to suffer other forms of injury and/or harm.

       170.    Defendant should be compelled to disgorge into a common fund or constructive

trust, for the benefit of Plaintiff and Class Members, proceeds that they unjustly received from

them. In the alternative, Defendant should be compelled to refund the amounts that Plaintiff and

Class Members were underpaid by Defendant.

                                    PRAYER FOR RELIEF

       Plaintiff, individually and on behalf of all other members of the class, respectfully requests

that the Court enter judgment in Plaintiff’s favor and against Defendants as follows:

       A.      Certifying the Class as requested herein, designating Plaintiff as Class

representatives, and appointing Plaintiff’s counsel as Class Counsel;

       B.      Awarding Plaintiff and the Class appropriate monetary relief, including actual

damages, statutory damages, punitive damages, restitution, nominal damages and disgorgement;

       C.      Awarding Plaintiff and the Class equitable, injunctive, and declaratory relief, as

may be appropriate. Plaintiff, on behalf of himself and the class, seek appropriate injunctive relief

designed to prevent Defendants from experiencing another data breach by adopting and




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implementing best data security practices to safeguard PII and other private information and to

provide or extend credit monitoring services and similar services to protect against all types of

identity theft;

        D.        Awarding Plaintiff and the Class pre-judgment and post-judgment interest to the

maximum extent allowable;

        E.        Awarding Plaintiff and the Class reasonable attorneys’ fees, costs, and expenses, as

allowable; and

        F.        Awarding Plaintiff and the Class such other favorable relief as allowable under law.

                                      JURY TRIAL DEMAND

        Plaintiff demands a trial by jury of all claims in this Class Action Complaint so triable.

Dated: July 29, 2024.                                   Respectfully submitted,

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